Case 5:19-cv-00032-CJC-DFM Document 64 Filed 10/13/21 Page 1 of 1 Page ID #:461




                        UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION



  ANTQUAN DURPREE CLAY,                   No. ED CV 19-00032-CJC (DFM)

           Plaintiff,                     Order Accepting Report and
                                          Recommendation of United States
              v.                          Magistrate Judge

  SAN BERNARDINO COUNTY et
  al.,

           Defendants.



       Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and
 all the records and files herein, along with the Report and Recommendation of
 the assigned United States Magistrate Judge. Further, the Court has engaged in
 a de novo review of those portions of the Report and Recommendation to
 which objections have been made. The Court accepts the findings,
 conclusions, and recommendations of the United States Magistrate Judge.
       IT IS THEREFORE ORDERED that Defendant’s motion for summary
 judgment be GRANTED. Judgment shall be entered dismissing the Third
 Amended Complaint with prejudice.


  Date: October 13, 2021                   ___________________________
                                           CORMAC J. CARNEY
                                           United States District Judge
